    Case 1:18-cv-00067-MAC Document 1-1 Filed 02/09/18 Page 1 of 7 PageID #: 5

•   ®   CT Corporation                                                          Service of Process
                                                                                Transmittal
                                                                                01/22/2018
                                                                                CT Log Number 532657313
        TO:      Sara Miemiec, Litigation Director ACCIDENT CLAIMS
                 SCHNEIDER NATIONAL, INC.
                 3101 South Packerland Drive
                 Green Bay, WI 54304-

        RE:      Process Served in Texas

        FOR:     SCHNEIDER NATIONAL CARRIERS, INC. (Domestic State: NV)




        ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

        TITLE OF ACTION:                  Maria Beatification Ambriz Piedra, etc., Pltf. vs. Christopher Mitchell Webb and
                                          Schneider National Carrier, Inc., Dfts.
        DO CUMENT(S) SERVED:              Letter, Petition, Return
        COURT/AGENCY:                     253rd Judicial District Court Chambers County, TX
                                          Case# CV1712825
        NATURE OF ACTION:                 Personal Injury - Vehicle Collision - 08/05/2017
        ON WHOM PROCESS WAS SERVED:       C T Corporation System, Dallas, TX
        DATE AND HOUR OF SERVICE:         By Process Server on 01/22/2018 at 15:25
        JURISDICTION SERVED :             Texas
        APPEARANCE OR ANSWER DUE:         Within 20 days after you were served this citation and petition
        ATTORNEY(S) / SENDER(S):          Nhan Nguyen
                                          Law Office of Nhan Nguyen
                                          2500 West Leap South, Suite 340
                                          Houston, TX 77027
                                          713-840-7200
        A CTION ITEMS:                    CT has retained the current log, Retain Date: 01/23/2018, Expected Purge Date:
                                          01/28/2018
                                          Image SOP
                                          Email Notification, Allicia Deleon deleona1@schneider.com
                                          Email Notification, Connie Fleigle fleiglec@schneider.com
                                          Email Notification, Kerry Byng byngk@schneider.com
                                          Email Notification, Meghan Hellmann hellmannm@schneider.com

        SIGNED:                           C T Corporation System
        ADDRESS:                          1999 Bryan Street
                                          Suite 900
                                          Dallas, TX 75201
        TELEPHONE:                        214-932-3601




                                                                                Page 1 of 1 / SK
                                                                                lnfonnation displayed on this transmittal is for CT
                                                                                Corporation's record keeping purposes only and is provided to
                                                                                the recipient for quick reference. This infonnation does not
                                                                                constitute a legal opinion as to the nature of action, the
                                                                                amount of damages, the answer date, or any information
                                                                                contained in the documents themselves. Recipient is
                                                                                responsible for interpreting said documents and for taking
                                                                                appropriate action. Signatures on certified mail receipts
                                                                                confirm receipt of package only, not contents.



                                                                                                                     EXHIBIT A
  Case 1:18-cv-00067-MAC Document 1-1 Filed 02/09/18 Page 2 of 7 PageID #: 6

CLERK OF THE COURT                           ATTORNEY FOR PLAlNTfF.F OR PLAINTlFF'(S)
Donna G. Brown, District Clerk               NHAN NGUYEN
1923 Sam Houston, Room 115                   2500 WEST LOOP SOUTH, SUITE 340
Liberty, Texas 77575                         HOUSTON, TEXAS 77027


       NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney.
If you or your attorney do not file a written answer with the clerk who issued this citation
by 10:00 a.m. on the Monday next following the expiration of twenty days after you were
served this citation and petition, a default judgment may· be taken against you."

THE STATE OF TEXAS

      TO: Schneider National Caniers, Inc., by and through its registered agent CT
Corporation System, Respondent, Greetings;

       You are hereby commanded to appear by filing a written answer to the Petitioner's
Original Petition and Request for Disclosure to Defendants at or before ten o'clock A.M. of the
Monday next after the expiration of twenty days after the date of service of this citation before
the Honorable 253RD JUDICIAL DISTRICT COURT of Liberty County, Texas at the Court
House of said County in Liberty, Texas.

       Said Petitioner's Petition was filed in said court on the 21st day of December, 2017, in
this cause, Numbered CV1712825 on the docket of said court, and styled, MARIA
BEATIFICACION AMBRIZ PIEDRA, INDIV.fDUALLY AND AS NEXT FRIEND OF J.B.,
B.B., AND R.B., Plaintiff vs. CHRISTOPHER MITCHELLE WEBB AND SCHNEIDER
NATIONAL CARRIERS, INC., Defendant.

        The nature of Petitioner's demand is fu1Jy shown by a true and correct copy of
Petitioner's Original Petition and Request for Disclosure to Defendants, accompanying this
citation and made a part hereof.

          The Officer executing this writ shall promptly serve the same according to requirements
ofla':V, and the mandates thereof, and make due return as the law directs.




                             Attest�.                 JJ. funru , Clerk, District Court
                                   Donna G. Brown, District Clerk
                                   Libe1ty County, Texas



                             By�\k).Jl.tJ
                               olores Wiley \
   Case
Rule   106 1:18-cv-00067-MAC
           " the citation shall be servedDocument       1-1
                                          by the i,fficer      Filedto02/09/18
                                                          dolivering               Page
                                                                       each defendant,     3 of 7 aPageID
                                                                                        in person,   true copy#:of7this
citation with the date ofdelive.ry endorsed thereon and with a copy ofthe petition attached thereto.


                                                  SHERIFF'S RETURN

        Came to hand on _ __ day of _________, 201_; at ___ o'clock
_ M., and executed in ---�----- County, Texas by delivering to each of the
    _ .
within-named ----------�----------- in person, a true copy of
this Citation, having first endorsed thereon the date of delivery, together with the accompanying
true and correct copyofthe Plaintiffs Petition, at the following times and places, to wit:


        Name                      Date                    Time                 P]ace, and Course and Distance
                                Month Day Year          Hour Min. ....M.                From Court House




And not executed as to the Respondent, _ ______________ the diligence
used             ih           .finding      said       Respondent,         being:
                                                                and the cause of
failure to execute this process is: -,-----------------------­
and the infonnation received as to the whereabouts of the said Respondent, being:



FEES·- Serving _____ Copy___ $ ___
       Total$__._
                         ___________Sheriff/Constable, Precinct
                         #
                         ____________ County, Texas
                         By ________________
                             Deputy

                                         CERTIFICATE OF DELIVERY

  I, do hereby certify that I delivered to _________, Defendant on the __ day _____,
20 l__, at ____o'clock _.M, a copy of this instrument.

                                            __________Sheriff/Constable,
                                            Precinct# ___
                                            By_____________,Deputy
                                                                                -
Case 1:18-cv-00067-MAC Document 1-1 Filed 02/09/18 Page 4 of 7 PageID #: 8
                                                                                                                      FILED
                                                                                                        12/21/2017 1 :56 PM
                                                                                                           Donna G. Brown
                                                                                                               District. Clerk
                                                 CV1712825                                               Liberty County, TX
                                       CAUSE NO. ____...,...._
                                                                                                           Dolores Wiley
 MAIUA 13EATIFICA(;UJN                                  .�            IN TIIE:iHSTRI<T COL HT OF
 Al\11.UUZPIEDRA, lndMdn:tll�i 1fod :ts­                �
                                                        �
 Ncxt Friend oi".J.U.. li.B., irnd �.B.,.               .�
 J\'linor Children.                                     §
                                     *
                                     §
                                     �                                unERTY COt:l\'TY, TEXAS
VS.                                 §
                                    �
CllRISTOPIIER MITCHELL WEBlkond �
SCIINf:IDEltNATIOI\AL C.l\lUUt<:RS, �
INC.,                               §
                                    !:?                                 253rd
                                    �                                ----- OlSTIUCT COCRT
                          Pl.AINTll•F'S ORIGINAL PETITIO� AND
                        REQUEST FOR DISCLOSURE TO Ut:Fl{�DAl\'TS

TO THE HONORA8LE DISTRiC:T Cntm:r .fl!D(1I::

         PlniniiffMARIA HEATIFICATIO\I A\'11-mIZ PlJ-:DilA. lt1dividm1lly,1nd ,is l\'�xt friend of

.J.B .. B.B .. aiid R.B,. \llinor Childn:n t:nmpll1ii1s iii; Dclcmlmits ('IIRISTOPllER MITCIIELL

WEBB: and SCHNEIDER );ATIONAI. CARRlt-:RS. l>IC'. (cotl�ctivdy. lhl.' ··JJi:fomlan1s··), nntl in

suppon wou.ld i;how this Court the l'ollnwi11g::

                                                    LEVEi.

l.       Plaintifls intend to c<indud discovery undd' l.l!vd 2 nl' Kulc 19!1.:' ol' the Texas Rulc!:i <ir

Civil Prot:l·c.lurc and. al'li1"maii\'dY plead that this suit docs 1\01 f:.11! UlHkr rhc cxp1.alitcd-:.1;,,:tions

proccs� of Ruic 169, bctausc· Plaintif1s s0d.;•damages in t:xi.:es:5 of$ I 00,000.

                                                   RELIEF

2.      Pl:1intilfa sc-:k only 111<11\ctary n:li�fiit\ivcr S21HUHl0 hut lt:ss th:111 S 1.000.000. le.-.:. R. Civ.

P. 47(c)(4).

                                                  PARTIES
Case 1:18-cv-00067-MAC Document 1-1 Filed 02/09/18 Page 5 of 7 PageID #: 9




 ).       Plnintiff is a 1\.:sitkn! ol' I larris County. Texas.

 4.      1Jcf!.!rHl11111 Cll RISTOPIIER :VllTCI IELL Wl:BB i::l, up,,n infornrn!it.111 ,tnd bdit.:I', an

 individual \\'ho may he scrvcd with proi:CSs at his rt•sillencc acldrcss.J2 I 7 fo.-;dii1 Lane, /\pt. 13, Red

 Rank. T�nncssL·c: 3 741 S.

 5.      lkl�ndant SCHNEIDER NATIONAL CARRIERS, INC. is. upon inl1.lfma1ion mul bdicl� a

 Nevada corporatit)n 1 lrnt nwy bl.!° served with pro1.:css bysl!1Ying iti:; r·tgistcrcd ngcnt. (T Coqmration

System. J lJ1)() Bryan Street. Suit.:.: 900. D�illas, Tcx,1s 75::!ll I.

                                                     Vl::'-JUI·:

Cl.      Punmunt to�� l 5.002 ct SC'ff. or the Te.xas C'ivil J > rnclicc and Remedies Ctidt, n:mrc is pn,tJt:r

in Harris C<,unty. bccausc the cause of ,wtit)ll act.:rm:d in 1.iherty County. Texas.

                                                     rACTS

7.       This la\.\·suit n:sults from ii collision 1hat m:curred in Harris Cnunty, Ti.;xas. On lhc rntirning

of August 5. 20 I 7. Plaintiff \faria h1.·;tiilifal'ion i\mhriz Piedra !"l'laintilf' M ·'t\tllhri/') \\·as

stopped al thu n:d liglt1 at lht: i111crscdio11 (If Slate I lighway 32 I and l:asr Linney Slrcut in Dc1yto11,

Tc:xa$;. I kr thn.:c minord1ihlrc11 wen: p;,sscngcrs in the vchick. Sud<knly mid withmi! any waming.

vehicle$ npcrnh.:d by l)d'cndant Chrislophcr Mitt:hcll \\'cl-i" ("\VL'bh") and Ch.tries hlward Oa!t:s

( ..(iates") collickd in lhi.: in1crsc�tit111. L',lusi11g Ciah;s·, l'hidc lo cn1.,;h nearly hcnd-011 i111n Pluimitrs

vehicle (thi:' ··collision").



8.       \\'ebb committed acts 01' nrnissiun a111h,r commission vihich. 1::oll�i.:tivdy and severally.

�n11stillltcd 11cgligl.im::c, wltidt was u pmxim,lle cnusi.;       or thi: Colli�i1111.   \Vl'hh"s nqdigcnt ads

include, hul an.: nnt limirctl 10. i11a11cn1ion, failun.· to yield the right-of-way, foilurc Ill t;ikc evasive

action. l'ailurc io con1rol spec!d, ancl failure to obey thi.: tralfo.: h1w$ and si�iwls of the S1mt ol''f'cx.i.,.
Case 1:18-cv-00067-MAC Document 1-1 Filed 02/09/18 Page 6 of 7 PageID #: 10

                              ·-·
                                         NJ-:Sl-'ONJ)f.AT SU/'liRIOR

 9.       /\t the time of lh� Collisio11, Webb was a-:ting in the �ou,·sc und \t.:npe (,!' his �m,,loymcnt

 with Ddb1dant Sdl1h:i,kr Nminnal Carriers. 1111,;. ("'SchncidL'r".). w1d operating a vchidc <>Wlli.:d by

 Schneider. Under the dol'.lrirn: tll'Rl·srunl(/c,11 S11paiur. Sdmcidcr is jointly and si;vcrnlly liable for

 all acts of \\'�hh"s i1c��ligcncc.

                                                  DAMACrES

  10.    As :uesult ,11' Dcli:ndants' i1cgligc11c..::. l'bintilTs vehicle.: was damaged and she has been

 deprived of the use or her ,·chide si11c1.: the Collision.

 I I.    Frn1licr. Plaintiff Maria Bcmi licadon Amhriz Piedra and her d1ildn:n sustnincd serfous

 injuries n,,d incurred medical c.wcnscs for tilt rn.:i..:L·ssw·y diagnosis and treatment of their injuries.

 These chan......!cs arc rcnso11:1hk and cus11mrnrv.. with 1.:han.!CS
                                                                 .... nwdc for such st::n'iccs in the crn1nlv
                                                                                                            .. 1w

 countii;:s where they were provi1lcd. With r..:as(1flahk mcdkal probability. Pb inti !Twill incur 111t:di 1,:al

 t>xp�nscs for the necessary lrL·almcnt of their injuries in the future. Fu,tht:i·. Plhintiff \1aria

 f3eatifi(;ucion Amhri1. Piedra' ancl IKT children h,l\'c sulh:n..:d physical pai1t 1111:!ntal anguish. and

 physical impairment l'csulting frnm their irtjuries. aml arc cxpc(.;lcd to sulforthcrt:froin in !hi.! future.



         Plaintiff MARIA 13EATlflCATION AMBRIZ PIEDRA. Individually and us :\t:xi Friend nr

 J.B., B.IL and R.B., Minor Children prnys that lkfrndant:. Cl IRIS TOPI !ER \,llTCI 11:1.1. \:Vl:BB:

 ,iml SC'llNEIDER NATIO'.\!AL Ci\RRll�RS. INC. ,lppc.ir hcrL·in. anti that upon final trial Pbintiff

 take 11 judgm�nt agains1 De.fondants. joinily ond sc\·crnlly. for the following:

        (:l)     Actual dnm.igcs ill tlll �,mount within 1hc _jurisdiction.ti liiuit of' the wurt:

        (b)      Costs ()f court:

        (c)      Pn.:judgm�nt and post-j1.1dgme11t int�n:st at tht: high�s! luwful rate: mid
..   Case 1:18-cv-00067-MAC Document 1-1·. Filed 02/09/18 Page 7 of 7 PageID #: 11

                                                                                             ..,,,,_,,,;




               ( d)     Sm:h other and further rdiet: hO!h gr11cn1l and s11cciu!;tl.> which Pb inti ff inn)' show:

              herself cntiH�tL

                                               RE<)t JEST FOi{ DISCI.OSURI":

              Und�r Ru!c      194 ofthc tex.is l�ulc:c; of C'i\'il i'ilicc�lur.c. PlaintiJfJi.:qt1csts that Defendants

      C'URIST(WHER MiT('HELL WE(3:J3: and SCHNEIDER �ATIO>JALCARRl(:-RS; INC.disdosc,

      wi1hii1 lil y(-50) days elf scryitZc. th� infonn:itio1i·;111d inah.:r1.ils d..:scrit',td in Rule l 94.2.
                 l



                                                           R c�p�¢tfu lly suh1.n iitcd ..

                                                           TIIE I.A\VOFFICt-: OfNllAN.:\GUYEN


                                                               Jsi :\lhwi Nvun.:1i ·
                                                           Nh1111 Nguyen
                                                           TcXas Bar N,1. 240..t I 589
                                                           2500 \,\icsr Loop South. Suite J-10
                                                           ffoushin. Tc�as 77027
                                                           Telephone: 7 J J/X4ff-7201l
                                                           T�kcopkr: 7 LV583.�4.I 5S
                                                           Email: �J.1;111-x1. I. ls:.ih h I .an S,:.-yj,n:5:S:l!ill

                                                           ATTORNEYS FOR PI.AINTiFF
